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8                              IN THE UNITED STATES DISTRICT COURT
9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                            FRESNO DIVISION
11
12
      MICHAEL MADDEN, Successor-in-                          1:18-CV-00255-ADA-BAM
13    Interest to Ryan P. Madden, et al.,
                                                         DECLARATION OF HOWARD E.
14                                           Plaintiffs, MOSELEY IN SUPPORT OF
15                   v.                                      SUMMARY JUDGMENT
16
      HICKS, et al.,
17
                                           Defendants.
18
19

20
21    Summary Judgment. I make the following declaration based upon my own knowledge, as

22    explained below. If called, I can testify competently to the facts contained in this declaration for

23    the reasons discussed below. I declare as follows:

24           1.   I am employed by the California Department of Corrections and Rehabilitation

25    (Department) as the Associate Director of the Office of the Appeals (OOA), formerly named the

26

27    grievance and appeal process for all offenders (inmates and parolees). Before my tenure as the

28
                                                         1
                                                                                 (1:18-CV-00255-ADA-BAM)
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1     Associate Director of the OOA, I worked for over four years as the Chief Deputy General

2

3               2.   Before August 1, 2008, the OOA received, reviewed, and maintained all offender
4     grievances that were appealed to the final level of review (both health care and non-health care
5     related). Since August 1, 2008, the Inmate Correspondence and Appeals Branch (ICAB) receives,

6     reviews, and maintains all appeals related to health care issues (medical, dental, and mental-
7     health), while the OOA receives, reviews, and maintains all appeals not related to health care
8     issues.
9               3.   When an appeal is received by the OOA, it is assigned a tracking log number and

10

11
12

13    number, the appeal log number, the appeal issue, the date the appeal was received, the underlying

14    grievance log number (which includes the acronym of the institution or parole region where the
15    underlying grievance arose), the date the appeal is closed, and the final disposition of the appeal.

16              4.   All offender appeals are reviewed by the OOA and screened in or screened out. An

17    appeal is screened in (answered substantively) if it complies with the governing regulations. An

18    appeal is screened out (not answered substantively) if it does not comply with the regulations
19    governing the appeal process. Instead, the appeal is returned with a letter instructing the offender

20    how to cure the deficiency, if the regulations provide for a cure. The Appeal History Report
21    includes appeals that were screened in and screened out; if screened out, the report includes the

22    reason for the screen-out.

23              5.
24    grievance and appeal process and are rendered on behalf of the Secretary of the Department.

25              6.   I am familiar with the sections of Title 15 of the California Code of Regulations
26                                                                                        (F-62530)

27    appeal. If filing a grievance before June 1, 2020, an offender was required to follow the

28    procedures set forth in CCR, title 15, sections 3084-3085 (repealed effective June 1, 2020). If
                                                        2
                                                                                  (1:18-CV-00255-ADA-BAM)
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1     filing a grievance on or after June 1, 2020, an offender is required to follow the procedures set

2     forth in CCR, title 15, sections 3480-3487 (effective June 1, 2020).

3             7.   I am familiar with the record keeping system at the OOA and have access to Mr.
4                                                                                              regularly
5     conducted activities of the OOA, and making and maintaining the records is a regular practice of

6
7     system was conducted on September 21, 2023, under the name of Ryan Madden (Plaintiff),
8     CDCR No. F-62530, for all non-health care related appeals received by the OOA. The resulting
9     Appeal History Report lists all appeals Plaintiff filed with the OOA that were screened in or

10    screened out. A true and correct copy of the Appeal History Report for grievances filed before

11    June 1, 2020, is attached as Exhibit 1. A true and correct copy of the Appeal History Report for
12    grievances filed on or after June 1, 2020, is attached as Exhibit 2.

13            8.   A search was also conducted of the OOA computer system for all non-health care

14    related appeals received by the OOA between December 1, 2016 (the date the alleged incident
15    occurred), and February 22, 2018 (the date Plaintiff filed the operative Complaint). It is my

16    understanding that Plaintiff                                                 Hicks used excessive

17    force against Plaintiff on December 1, 2016, at California State Prison, Corcoran, and distributed

18    documents that falsely accused Plaintiff of being a child sex offender in order to retaliate against
19    Plaintiff for filing a grievance regarding the December 1 incident. It is also my understanding that

20    Plaintiff
21    disciplinary charges against Plaintiff and to place Plaintiff in administrative segregation if

22    Plaintiff were to file a complaint against Defendant Hicks. Two relevant appeals were found; each

23    is described below.
24            9.   In Appeal Log No. 1704206 (an appeal of Grievance Log No. COR-17-00616),

25    Plaintiff alleged that there were multiple due process errors in the adjudication of a disciplinary
26    action against Plaintiff concerning the December 1, 2016, incident (see Rule Violation Report

27    Log No. 1662330). Specifically, Plaintiff alleged that the CDCR Form 7219 Medical Report of

28    Injury or Unusual Occurrence was not given to Plaintiff more than 24 hours prior to the hearing;
                                                     3
                                                                                  (1:18-CV-00255-ADA-BAM)
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1     that the Senior Hearing Officer denied four witnesses requested by Plaintiff and gave no

2     explanation for the denial; that the video tape recording of the incident was not provided to

3     Plaintiff as evidence; and that the statement given during the disciplinary hearing was not
4     articulated on the final copy of the hearing decision. The OOA denied Appeal Log No. 1704206
5     on July 25, 2017. A true and correct copy of Plaintiff

6     as Exhibit 3.
7             10. In Appeal Log No. 1707293 (an appeal of Grievance Log No. COR-17-00137),
8     Plaintiff alleged that Defendant Hicks used excessive force against Plaintiff on December 2,
9     2016, after which Plaintiff was placed in a holding cage and told by an unnamed Lieutenant that

10    Plaintiff should let the issue die or things would go very badly for him. Plaintiff also alleged that

11    Defendant Hicks or the unnamed Lieutenant threatened to forge documents to make it appear as if
12    Plaintiff was a sex offender. The OOA cancelled Appeal Log No. 1707293 on October 11, 2017,

13    for failure to timely file the allegation at the institutional level. A true and correct copy of

14    Plaintiff                         decision are attached as Exhibit 4.
15            11. Other than the two appeals described above, a review of the OOA computer system

16    and Exhibits 1 and 2 shows that no other appeals were received by the OOA from Plaintiff during

17    the time period described in paragraph 8.

18            Under the laws of the United States of America, I declare under penalty of perjury that the
19    foregoing statements are true and correct. Executed on October 2, 2023, at Sacramento,

20    California.
21

22

23    ___________________________________
24    HOWARD E. MOSELEY

25    Associate Director, Office of Appeals
26    California Department of Corrections and Rehabilitation

27
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                                                         4
                                                                                    (1:18-CV-00255-ADA-BAM)
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                 Exhibit 1
 IATSIII
                                      California
                                    Case            Department
                                         1:18-cv-00255-ADA-BAM    of Corrections
                                                               Document               And Rehabilitation
                                                                        70-4 Filed 10/03/23 Page 6 of 50
                                                       Inmate Appeals Tracking System Report (Archive)                                    9/21/2023


Search Criteria :

CDC Number : F62530                 Issue :                                    Issue Subcategory :



Screened In

IAB                                                                                                                                  Inst. Log
              CDC Number          Appellant Name            Location          Issue                  Subcategory
Number                                                                                                                               Number
0802380       F62530*             MADDEN, RYAN              PVSP              GRIEVANCE AGST STAFF   Unprofssnl/Rude/Disrespectful   PVSP-08-
              Filed: 4/24/2008    Accepted: 8/7/2008        Due: 11/3/2008    Closed: 12/17/2008     Disposition: DENIED             01266


1213380       F62530*             MADDEN, RYAN              LAC               DISCIPLINARY           Division D                      LAC-13-00727
              Filed: 2/20/2013    Accepted: 10/2/2013       Due: 12/31/2013   Closed: 12/3/2013      Disposition: DENIED


1403105       F62530*             MADDEN, RYAN              LAC               PROPERTY               Segregation/SHU                 LAC-14-01353
              Filed: 4/10/2014    Accepted: 9/4/2014        Due: 12/2/2014    Closed: 12/1/2014      Disposition: DENIED


1500285(G) F62530                 MADDEN, RYAN              SVSP              LIVING CONDITIONS      Movies/Videos/TV Programming    SVSP-15-
           Filed: 2/19/2015       Accepted: 7/10/2015       Due: 10/2/2015    Closed: 8/10/2015      Disposition: DENIED             00986


1704206       F62530*             MADDEN, RYAN              COR               DISCIPLINARY           Division D                      COR-17-00616
              Filed: 2/2/2017     Accepted: 5/8/2017        Due: 8/2/2017     Closed: 7/25/2017      Disposition: DENIED


1707293       F62530*             MADDEN, RYAN              COR               GRIEVANCE AGST STAFF   Misuse of Force                 COR-17-00137
              Filed: 12/22/2016   Accepted: 7/24/2017       Due: 10/17/2017   Closed: 10/11/2017     Disposition: CANCELLED




                                                                                                                                        Page 1 of 2
IATSIII
                                  California
                                Case            Department
                                     1:18-cv-00255-ADA-BAM    of Corrections
                                                           Document               And Rehabilitation
                                                                    70-4 Filed 10/03/23 Page 7 of 50
                                                    Inmate Appeals Tracking System Report (Archive)                              9/21/2023

Screened Out

IAB                                                                                                                         Inst. Log
           CDCNumber           Appellant Name            Location     Issue                    Subcategory
Number                                                                                                                      Number
0917728    F62530*             MADDEN, RYAN              PVSP         SEGREGATION HEARINGS                                  PVSP-10-
           Filed: 12/16/2009   Received: 3/8/2010                     Screened Out:4/9/2010 Reason: REJECTED                00055

0917728    F62530*             MADDEN, RYAN              PVSP         SEGREGATION HEARINGS                                  PVSP-10-
           Filed: 12/16/2009   Received: 3/8/2010                     Screened Out:4/9/2010 Reason: MISSING                 00055
                                                                                            DOCUMENTATION
1213380    F62530*             MADDEN, RYAN              LAC          DISCIPLINARY             Division D                   LAC-13-00727
           Filed: 2/20/2013    Received: 6/3/2013                     Screened Out:6/28/2013   Reason: R07 SUPPORTING
                                                                                               DOCUMENTS NOT ATTACHED
1213380    F62530*             MADDEN, RYAN              LAC          DISCIPLINARY             Division D                   LAC-13-00727
           Filed: 2/20/2013    Received: 8/19/2013                    Screened Out:9/3/2013    Reason: R00 OTHER (REJECTED)

1704206    F62530*             MADDEN, RYAN              COR          DISCIPLINARY             Division D                   COR-17-00616
           Filed: 2/2/2017     Received: 5/8/2017                     Screened Out:5/10/2017   Reason: CDCR 22 FORM
                                                                                               RESPONSE
1707293    F62530*             MADDEN, RYAN              COR          GRIEVANCE AGST STAFF     Misuse of Force              COR-17-00137
           Filed: 12/22/2016   Received: 7/24/2017                    Screened Out:7/25/2017   Reason: CDCR 22 FORM
                                                                                               RESPONSE




                                                                                                                               Page 2 of 2
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                   Exhibit 2
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                  Exhibit 3
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                                                       Moseley Ex. 3 - 002
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                                                       Moseley Ex. 3 - 003
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